      Case 1:20-cv-10444-DJC Document 59 Filed 05/01/20 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



NEURAL MAGIC, INC.,

     Plaintiff,

                   v.                  Civil Action No. 1:20-cv-10444-DJC

FACEBOOK, INC. and ALEKSANDAR
ZLATESKI,

     Defendants.




 DECLARATION OF CHRISTOPHER HENRY IN SUPPORT OF DEFENDANTS’
    OPPOSITION TO NMI’S MOTION FOR PRELIMINARY INJUNCTION
            Case 1:20-cv-10444-DJC Document 59 Filed 05/01/20 Page 2 of 4



       I, Christopher Henry, hereby declare as follows:

       1.       I am an attorney at Latham & Watkins LLP, the law firm representing Defendant

Facebook, Inc. (“Facebook”) in this action. I have personal knowledge of the facts stated in this

declaration and, if called to testify, would competently testify thereto.

       2.       Attached as Exhibit A is a true and correct copy of the January 22, 2020 letter that

counsel for Plaintiff Neural Magic, Inc. (“NMI”) sent to Defendant Aleksander Zlateski.

       3.       Attached as Exhibit B is a true and correct copy of the January 22, 2020 letter that

counsel for NMI sent to Defendant Facebook.

       4.       Attached as Exhibit C is a true and correct copy of the January 30, 2020 letter from

counsel for Facebook to counsel for NMI.

       5.       Attached as Exhibit D is a true and correct copy of the February 7, 2020 letter that

counsel for NMI sent to counsel Facebook. Although the February 7, 2020 letter is designated

confidential, NMI has filed this letter without seal alongside its motion for preliminary injunction

(D.I. 33-3), and as such, Facebook understands that NMI consents to the February 7, 2020 letter

being filed with the court without seal.

       6.       Attached as Exhibit E is a true and correct copy of the February 7, 2020 letter from

counsel for Facebook to counsel for NMI.

       7.       On February 12, 2020, counsel for NMI sent a letter to counsel Facebook,

designated Highly Confidential – Outside Attorneys’ Eyes Only. See D.I. 33-4.

       8.       Attached as Exhibit F is a true and correct copy of the February 13, 2020 letter from

counsel for Facebook to counsel for NMI.
              Case 1:20-cv-10444-DJC Document 59 Filed 05/01/20 Page 3 of 4



         9.       Attached as Exhibit G is a true and correct copy of the February 14, 2020 letter that

counsel for NMI sent to counsel Facebook, designated Highly Confidential – Outside Attorneys’

Eyes Only.

         10.      On February 19, 2020, counsel for Facebook emailed counsel for NMI, attaching

Baoyuan Liu et al., Sparce Convolutional Neural Networks, 2015 IEEE CONF. ON COMPUT. VISION

& PATTERN RECOGNITION (CVPR) 806 (2015). See, e.g., Zlateski Decl. Ex. L (Liu).

         11.      Attached as Exhibit H is a true and correct copy of the March 20, 2020 (3:03PM)

e-mail from counsel for NMI to counsel for Facebook.

         12.      Attached as Exhibit I is a true and correct copy of the March 20, 2020 (3:34PM) e-

mail from counsel for NMI to counsel for Facebook with an attachment.

         13.      Attached as Exhibit J is a true and correct copy of the March 24, 2020 letter from

counsel for Facebook to counsel for NMI.

         14.      Attached as Exhibit K is a true and correct copy of the March 26, 2020 letter from

counsel for NMI to counsel for Facebook.

         15.      Attached as Exhibit L is a true and correct copy of the March 30, 2020 letter from

counsel for Facebook to counsel for NMI.

         16.      On March 31, 2020, counsel for NMI sent a letter to counsel for Facebook. See

D.I. 33-10.

         17.      Attached as Exhibit M is a true and correct copy of the April 2, 2020 letter from

counsel for Facebook to counsel for NMI.

         18.      On April 4, 2020, counsel for NMI sent a letter to counsel for Facebook. See D.I.

33-13.
          Case 1:20-cv-10444-DJC Document 59 Filed 05/01/20 Page 4 of 4



        19.     On April 7, 2020, counsel for Facebook sent a letter to counsel for NMI, with an

attachment. See D.I. 33-14 and 33-15.

        20.     Attached as Exhibit N is a true and correct copy of the April 9, 2020 letter from

counsel for NMI to counsel for Facebook. I note that although the face of the April 9, 2020 letter

identifies “April 4” as the date, Facebook understands this to be a typographical error. This letter

was received by Facebook on April 9, and references a letter that was sent on April 7, confirming

that the “April 4” date is incorrect.



        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on April 23, 2020.



                                                  /s/ Christopher W. Henry
                                                  Christopher W. Henry
